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                                 (pro hac vice application to be filed)
                            10
                                 Attorneys for Plaintiffs
                            11
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                            12                               UNITED STATES DISTRICT COURT
                                                            EASTERN DISTRICT OF CALIFORNIA
                            13
                                                                  SACRAMENTO DIVISION
                            14
                                 E.L., a minor, by and through her general     Case No. 2:22-cv-01527-DAD-AC
                            15   guardian, JESSICA LONG; JESSICA LONG, an
                                 individual,
                            16                   Plaintiffs,
                                          v.                                   JOINT STIPULATION TO CONTINUE
                            17   LIEUTENANT JERRY FERNANDEZ, in his            DISCOVERY AND MODIFY
                                 individual capacity; DETECTIVE JACOB          SCHEDULING ORDER
                            18
                                 DUNCAN, in his individual capacity;
                            19   DETECTIVE JEREMY ASHBEE, in his               [[Proposed] Order filed and electronically
                                 individual capacity; SHASTA DISTRICT FAIR lodged concurrently pursuant to L.R. 137]
                            20   AND EVENT CENTER, a district agricultural
                                 association; COUNTY OF SHASTA; SHASTA Trial Date: March 24, 2025
                            21
                                 COUNTY SHERIFF’S DEPARTMENT;
                            22   MELANIE SILVA, in her individual and official Action Filed: August 31, 2022
                                 capacity; BJ MACFARLANE, in his individual
                            23   and official capacity; KATHIE MUSE, in her
                                 individual and official capacity, and DOES 1
                            24   through 10,
                                                 Defendants.
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                            28
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                                          JOINT STIPULATION TO CONTINUE DISCOVERY AND MODIFY SCHEDULING ORDER
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                             1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS:

                             2           Plaintiffs, by and through their counsel of record Ryan Gordon and Vanessa Shakib, Defendants

                             3   the County of Shasta, Shasta County Sheriff’s Department, Lieutenant Jerry Fernandez, Detective Jacob

                             4   Duncan, and Detective Jeremy Ashbee (collectively, the “County Defendants”), by and through their

                             5   counsel of record Damian Northcutt, Defendants the Shasta District Fair and Event Center (SDF), Melanie

                             6   Silva, and B.J. MacFarlane (collectively, the “Fair Defendants”), by and through their counsel of record

                             7   John Bridges, and Defendant Kathie Muse, by and through her counsel Ralph Collins, stipulate to continue

                             8   discovery and modify the scheduling order in this case as set forth below. Fed. R. Civ. Proc., Rules 6(b)(1)

                             9   and 16(b)(4), E.D. Cal. L.R. 144(d).

                            10           WHEREAS, on August 31, 2022, Plaintiffs filed the instant action and operative complaint
                            11   (the “Complaint”) for federal Constitutional violations;
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                            12           WHEREAS, on March 2, 2023, Plaintiffs filed a First Amended Complaint (FAC) adding
                            13   additional state causes of action against the existing Defendants as well as adding state and federal
                            14   causes of action against SDF, as well as its employees, Melanie Silva, and B.J. Macfarlane;
                            15           WHEREAS, following the filing of the FAC, Plaintiffs diligently conducted written discovery
                            16   and depositions for several months;
                            17           WHEREAS, Plaintiffs conducted the depositions of Defendants Lieutenant Fernandez,
                            18   Detective Duncan, Detective Ashbee, and PMK Captain Gunsauls on August 21-23, 2023, and
                            19   October 4, 2023, and Defendants conducted the deposition of Plaintiff Jessica Long on August 24,
                            20   2023;
                            21           WHEREAS, in response to discovery, on October 11, 2023, the parties again stipulated that
                            22   Plaintiffs could file a Second Amended Complaint (SAC) to add a new defendant;
                            23           WHEREAS, on October 12, 2023, Plaintiffs filed their SAC, adding Kathie Muse as a
                            24   Defendant;
                            25           WHEREAS, on November 7, 2023, Defendants Melanie Silva, Defendant Macfarlane, and
                            26   Defendant Muse appeared in the action, filing their first responsive pleadings on that date;
                            27           WHEREAS, Plaintiffs and Defendants continued to conduct written discovery and
                            28   depositions, including Plaintiffs’ depositions of Defendants Kathie Muse, Melanie Silva, and B.J.
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                                           JOINT STIPULATION TO CONTINUE DISCOVERY AND MODIFY SCHEDULING ORDER
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                             1   Macfarlane on November 13, 14, and 15, 2023, respectively, and Defendants’ depositions of

                             2   Raymond Allen, Chad Fowler, Kay Deloza on November 6, 7, and 17, 2023, respectively;
                             3          WHEREAS, on November 16, 2023, pursuant to the parties’ stipulation, the Court continued

                             4   various case dates including, but not limited to, ordering that the parties’ discovery cutoff be extended
                             5   from November 24, 2023 to February 23, 2024, and that the trial date be continued from October 7,
                             6   2024, to February 10, 2025;
                             7          WHEREAS, on February 6, 2023, pursuant to the parties’ stipulation, the Court continued
                             8   various case dates including, but not limited to, ordering that the parties’ discovery cutoff be extended
                             9   from February 10, 2024 to March 24, 2024, and that the trial date be reset from February 10, 2025 to
                            10   March 25, 2025, ECF 50;
                            11          WHEREAS, since the previous stipulation agreed upon by the parties on about February 5,
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                            12   2024, and ordered by the Court on February 6, 2024, the parties have continued to engage in discovery
                            13   in good faith, and have continued to meet and confer in good faith regarding various outstanding
                            14   discovery issues. Those discovery efforts included, for example, concluding the depositions of
                            15   Plaintiff Jessica Long, Defendant Melanie Silva, and Defendant B.J. Macfarlane, on February 8-9,
                            16   2024, as well as submitting multiple subpoenas to nonparties for phone and business records;
                            17          WHEREAS, since the previous two stipulations agreed upon by the parties and ordered by
                            18   the Court, Plaintiffs have continued to diligently litigate their case, including discovery as described
                            19   above, and additionally filing an omnibus Anti-SLAPP Motion to Strike Counterclaims of Melanie
                            20   Silva and B.J. Macfarlane along with supporting evidence, ECF No. 39; a Motion to Dismiss
                            21   Counterclaims of Melanie Silva and B.J. Macfarlane, ECF No. 40; meeting and conferring with
                            22   counsel for Fair Defendants regarding the deposition of Plaintiff E.L., a minor; meeting and
                            23   conferring with counsel for Fair Defendants and County Defendants regarding a possible Third
                            24   Amended Complaint; meeting and conferring with counsel for Fair Defendants and County
                            25   Defendants regarding depositions of Sheriff Michael Johnson, District Attorney Stephanie Bridgett,
                            26   California Department of Food and Agriculture (CDFA) Deputy Secretary Michael Flores, and
                            27   CDFA Fairs and Expositions Branch Chief Mike Francesconi; conducting discovery on non-parties,
                            28   including non-party document subpoenas; meeting and conferring around outstanding discovery in
                                                                              3
                                           JOINT STIPULATION TO CONTINUE DISCOVERY AND MODIFY SCHEDULING ORDER
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                             1   advance of filing various Notices of Motions to Compel, ECF Nos. 51-59; and meeting and conferring

                             2   with regard to and filing Statements in Support of Motions to Compel regarding outstanding
                             3   discovery and third-party document subpoenas, ECF Nos. 61-63.

                             4          WHEREAS, through conducting this discovery and engaging with each other cordially to
                             5   complete discovery and resolve the discovery dispute, the parties have established their diligence.
                             6   Johnson v. Mammoth Recreations, Inc., 975 F.2d 604 (9th Cir. 1992);
                             7          WHEREAS, despite the Parties’ diligence in conducting discovery, the Parties are unable to
                             8   complete discovery in the time frame provided by the scheduling order, establishing good cause for
                             9   the cited requested continuance. Specifically, Plaintiffs are awaiting certain phone records from
                            10   Verizon and AT&T which, if obtained, may potentially obviate or narrow the need for certain
                            11   depositions and conserve the parties resources; Plaintiffs’ expert in psychology has suffered multiple
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                            12   medical events and is currently unresponsive, thus requiring Plaintiffs to seek a new expert to aid
                            13   their pending meet and confer over the deposition of minor E.L.; as Plaintiffs are seeking a new expert
                            14   in psychology, Plaintiffs ability to conclude meeting and conferring over the deposition of E.L. with
                            15   counsel for Fair Defendants has been delayed; and Plaintiffs are meeting and conferring over various
                            16   outstanding discovery issues with counsel for County Defendants, including discovery involving
                            17   Sheriff Michael Johnson and District Attorney Stephanie Bridgett, for whom counsel for County
                            18   Defendants is making apex objections, among others;
                            19          WHEREAS, to accommodate the above issues, subject to all parties’ reservation of rights to
                            20   petition the court for additional discovery if the need arises, the parties agree to a short 60-day
                            21   extension of fact discovery for the following purposes: first, for Plaintiffs to determine which
                            22   individuals, if any, at the Shasta County Sheriff’s Department, Shasta County District Attorney’s
                            23   Office, and/or CDFA were involved in the decision to kill Cedar; and second, to conclude meeting
                            24   and conferring over, and resolve the issue of, the deposition of E.L., a minor.
                            25          WHEREAS, in accomplishing the above, with respect to the Fair Defendants, the Plaintiffs
                            26   and the Fair Defendants agree to continue discovery so: (1) Plaintiffs may ascertain and review phone
                            27   records currently the subject of subpoenas and not yet produced; (2) the parties will meet and confer
                            28   over the potential depositions of Mike Francesconi and/or Michael Flores; (3) if warranted, Plaintiffs
                                                                             4
                                          JOINT STIPULATION TO CONTINUE DISCOVERY AND MODIFY SCHEDULING ORDER
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                             1   may potentially conduct discovery on Mr. Francesconi and/or Mr. Flores; (4) Plaintiffs may retain a

                             2   replacement psychology expert and then meet and confer with the Fair Defendants of the potential
                             3   deposition of E.L.; (5) Plaintiffs and the Fair Defendants may meet and confer over potential Rule 35

                             4   examinations of E.L.; and (6) the parties may bring motions to compel, or otherwise seek court orders,
                             5   with respect to the foregoing.
                             6            WHEREAS, in accomplishing the above, with respect to counsel for County Defendants, the
                             7   Plaintiffs and the County Defendants agree to (1) meet and confer regarding the declarations and
                             8   potential depositions of Shasta County Sheriff Mike Johnson and Shasta County District Attorney
                             9   Stephanie Bridgett, (2) meet and confer over prior discovery responses; (3) potentially propound up
                            10   to two sets of discovery on the County Defendants; (4) issue up to three records subpoenas related to
                            11   County Defendants or County employees and/or agents; (5) conduct up to two depositions on County
ADVANCING LAW FOR ANIMALS




                            12   Defendants or County employees and/or agents; and (6) the parties may bring motions to compel, or
                            13   otherwise seek court orders, with respect to the foregoing. This agreement does not in any way waive
                            14   any rights of the County Defendants to assert objections, bring discovery motions, seek protective
                            15   orders, or seek other relief from the Court.
                            16            The parties further stipulate that any additional discovery not identified in this stipulation
                            17   requires further stipulation by the parties affected or a court order, which may be issued for good
                            18   cause.
                            19            WHEREAS, to accomplish the foregoing, the parties agree that a short extension of 60 days
                            20   for fact discovery, as well as corresponding extensions to expert discovery and motion practice.
                            21   However, the trial date should remain as is;
                            22            WHEREAS, the parties now stipulate to following modifications to the scheduling order to
                            23   facilitate a timely completion of non-expert discovery and expert discovery. Nothing in this
                            24   stipulation shall prejudice their rights to enter into further stipulations regarding these issues;
                            25
                            26            NOW, THEREFORE, BASED ON THE FOREGOING FACTS, IT IS STIPULATED AND
                            27   AGREED, by and between the undersigned counsel for Plaintiffs and Defendants, that:
                            28
                                                                               5
                                            JOINT STIPULATION TO CONTINUE DISCOVERY AND MODIFY SCHEDULING ORDER
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                             1       1. The deadline for fact discovery is continued from March 25, 2024 to May 24, 2024, subject

                             2          to the limitations above which are incorporated herein by reference;
                             3       2. The deadline to exchange expert disclosures is continued from April 8, 2024 to June 7, 2024,

                             4       3. The deadline to exchange rebuttal expert disclosures is continued from April 29, 2024 to
                             5          June 28, 2024;
                             6       4. The deadline to complete expert discovery shall be continued from May 27, 2024 to July 26,
                             7          2024; and
                             8       5. The motion cutoff deadline is continued from August 8, 2024 to October 8, 2024.
                             9
                                 IT IS SO STIPULATED.
                            10
                            11
ADVANCING LAW FOR ANIMALS




                                                                             Respectfully submitted,
                            12
                            13   Dated: March 14 , 2024                      ADVANCING LAW FOR ANIMALS
                            14
                                                                             By:    /s/Ryan R. Gordon__
                            15                                               Ryan Gordon
                                                                             Vanessa Shakib
                            16                                               Attorneys for Plaintiffs
                            17
                            18
                                 Dated: March 14, 2024                       CALIFORNIA DEPARTMENT OF JUSTICE
                            19
                            20                                               By:    /s/John C. Bridges
                                                                             John C. Bridges
                            21                                               Attorneys for Defendants Shasta District Fair
                            22                                               Association, Melanie Silva, and B.J. Macfarlane

                            23
                                 Dated: March 14, 2024                       BEST BEST & KRIEGER LLP
                            24
                            25                                               By:     /s/Damian A. Northcutt
                                                                             Christopher M. Pisano
                            26                                               Damian A. Northcutt
                                                                             Attorneys for Defendants Lieutenant Jerry Fernandez,
                            27                                               Detective Jacob Duncan, and Detective Jeremy Ashbee
                            28
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                                 Dated: March 14, 2024               REESE, SMALLEY, WISEMAN &
                             1                                       SCHWEITZER, LLP
                             2
                                                                     By:    /s/Ralph Collins
                             3                                       Ralph Collins
                                                                     Attorneys for Defendant Kathie Muse
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ADVANCING LAW FOR ANIMALS




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                                         JOINT STIPULATION TO CONTINUE DISCOVERY AND MODIFY SCHEDULING ORDER
